                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO
In re:

MARGARET PORTIA NELSON,                                             Case No. 18-10046-ja7
aka MARGARET CAPUTO, aka                                            Chapter 7
MARGARET SPINA,

                Debtor.

 CHAPTER 7 TRUSTEE’S MOTION TO AUTHORIZE SALE OF 2008 EXCEL FIFTH
                             WHEEL

         Edward A. Mazel, the Chapter 7 Trustee of the above-captioned estate (the “Trustee”),

pursuant to Bankruptcy Code §§ 363(b) and other applicable law, if any, moves the Court to

approve the sale of a 2008 Excel Fifth Wheel (the “Fifth Wheel”) and in support hereof, states:

         1.     Commencement of the Case. On January 12, 2018 (the “Petition Date”), Margaret

Portia Nelson, a/k/a Margaret Caputo a/k/a Margaret Spina (the “Debtor”) commenced the above-

captioned case by filing a voluntary petition for relief under Chapter 7 of the United States

Bankruptcy Code. Edward A. Mazel was appointed the chapter 7 trustee for this case.

         2.     Jurisdiction and Venue. The Court has jurisdiction over this motion pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The Trailer. Also on the Petition Date, the Debtor filed her bankruptcy schedules,

which, inter alia, disclosed that the Debtor owned the Fifth Wheel. Schedule A/B, ¶ 3.2. The

Debtor listed the value of the Fifth Wheel as $19,500.00 and claimed exemptions of $1,180.85.

Schedule C, ¶ 2. Prior to the Petition Date, the Debtor listed the Fifth Wheel on Poprvs.com at

$14,850.00, but was not successful in selling the Fifth Wheel. Upon information and belief, there

are no liens on the Fifth Wheel. The Trustee believes the Debtor’s listed value of $19,500.00 is

extremely overstated, as evidenced by the Debtor’s unsuccessful attempts to sell it at $14,850.00




 Case 18-10046-j7         Doc 27   Filed 05/15/18     Entered 05/15/18 09:26:46 Page 1 of 3
prior to the Petition Date.

       4.      Proposed Sale of the Trailer. By this Motion, the Trustee seeks authority from the

Court to sell the Fifth Wheel for $10,000.00 to Rick Jackson (the “Sales Price”). The Trustee uses

Mr. Jackson for evaluating and determining fair market value of motor vehicles and recreational

vehicles. Mr. Jackson intends to prepare the Fifth Wheel for resale by cleaning it and replacing

worn equipment, estimating costs to be $5,000.00. Repairs include replacing an awning, repairing

damage caused by last awing being torn from the Fifth Wheel in a windstorm, providing two new

propane bottles and hardware, providing two new batteries and hardware, repairing tree limb

damage to the roof, detailing interior including carpet and appliances, maintenance to hydraulic

system for slide-outs and hitch, and replacing tires (the “Repairs”).

       5.      Certificate of Title. The Trustee expects receipt of the Certificate of Title for the

Fifth Wheel. The Trustee requests Court approval to sign the title over to Rick Jackson. Should

the need arise, the Trustee also requests the Court authorize the New Mexico Motor Vehicle

Division of the New Mexico Taxation and Revenue Department to issue a new Certificate of Title

in the name of Rick Jackson.

       6.      The proposed sale is fair and equitable, and is in the best interests of and beneficial

to the Debtor’s estate and the creditors. The Trustee has analyzed the value of the Fifth Wheel,

and believes the proposed sale to be fair and in the best interest of the estate. Prior to the Petition

Date, the Debtor has listed the Trailer on Poprvs.com for $14,850.00 without securing a buyer.

Mr. Jackson intends to improve the Fifth Wheel by performing the Repairs and estimates the cost

to be $5,000. The Fifth Wheel will be sold with paint that is fading and cracking. A buyer will

likely need to pay cash as financing for a ten year-old unit is rare. Mr. Jackson incurs the risk of

a slow market and having to carry the Fifth Wheel for months before it sells. Taking the above




                                               -2-
 Case 18-10046-j7        Doc 27     Filed 05/15/18      Entered 05/15/18 09:26:46 Page 2 of 3
factors into consideration, Mr. Jackson believes he will sell the Fifth Wheel for near NADA low

retail value, which is $18,750.00. However, Mr. Jackson is not assured of achieving that price.

The Trustee believes the Sales Price to be a fair market price for the Fifth Wheel in its current

condition and provides immediate funds to the estate. Additionally, the Trustee is not paying any

brokers or incurring any costs, other than legal fees, in connection with the proposed sale.

        WHEREFORE, the Trustee requests that the Court enter an order (i) authorizing the

Trustee to sell the Fifth Wheel for $10,000.00 to Rick Jackson, (ii) authorize the Trustee to sign

the title to Rick Jackson, or in the alternative and to the extent necessary to consummate the

transaction, authorize the New Mexico Motor Vehicle Division of the New Mexico Taxation and

Revenue Department to issue a Certificate of Title for the Fifth Wheel in the name of the eventual

purchaser, and (iii) for all other just and proper relief.



                                                        Respectfully submitted,

                                                        ASKEW & MAZEL, LLC

                                                       By: s/ filed electronically
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                                                      Attorneys for Edward Mazel, chapter 7 trustee

This certifies that on May 15, 2018, a copy of
the foregoing pleading was served by the Bankruptcy
Court’s electronic filing system on all parties who
have entered an appearance in this case.

s/ filed electronically
Benjamin A. Jacobs



                                                -3-
 Case 18-10046-j7         Doc 27     Filed 05/15/18      Entered 05/15/18 09:26:46 Page 3 of 3
